Case 1:18-cr-00204-NGG-VMS Document 1058 Filed 07/07/21 Page 1 of 1 PageID #: 19864

                                                      U.S. Department of Justice


                                                      United States Attorney
                                                      Eastern District of New York
   TH                                                 271 Cadman Plaza East
   F.#2017R01840                                      Brooklyn, New York 11201



                                                      July 7, 2021


   By ECF

   The Honorable Nicholas G. Garaufis
   United States District Judge
   United States District Court
   225 Cadman Plaza East
   Brooklyn, New York 11201

                 Re:      United States v. Keith Raniere, et al.
                          Criminal Docket No. 18-204 (NGG) (S-2)

   Dear Judge Garaufis:

                  The government respectfully submits this letter to request that the enclosed
   stipulation and order concerning discovery materials be so-ordered by the Court. The
   proposed stipulation and order has been signed by counsel for defendant Keith Raniere.


                                                      Respectfully submitted,

                                                      JACQUELYN M. KASULIS
                                                      Acting United States Attorney

                                              By:      /s/ Tanya Hajjar
                                                      Tanya Hajjar
                                                      Assistant U.S. Attorneys
                                                      (718) 254-7000



   cc:    Clerk of the Court (NGG) (by ECF)
          Defense Counsel (By ECF)
